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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                   CAMDEN VICINAGE


                                                    :   Case No. 08-14631 (GMB)
    In re:                                          :   (Jointly Administered)
                                                    :
    Shapes/Arch Holdings L.L.C., et al.             :   Chapter 11
                                                    :
                             Debtors.               :
                                                    :




                      APPLICATION FOR THE ADMISSION OF
                   JOSEPH P. DAVIS, ESQUIRE TO BE ADMITTED
              PRO HAC VICE AS COUNSEL TO ARCH ACQUISITION I, LLC

                       PLEASE TAKE NOTICE that the undersigned, as counsel for Arch

    Acquisition I, LLC (“Arch”), a party-in-interest in this case, has applied to this Court for

    an Order requesting the pro hac vice admission of Joseph P. Davis, Esquire, a member in

    good standing of the bars of the Commonwealth of Massachusetts, the U.S. District Court

    for the District of Massachusetts, the U.S. District Court for the Eastern District of

    Michigan, the U.S. Court of Appeals for the First and Ninth Circuits, and the United

    States Supreme Court, pursuant to D.N.J. LBR 2090-1 and Local Civil Rule 101.1(c) of

    the United States District Court for the District of New Jersey; and


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                       PLEASE TAKE FURTHER NOTICE that the undersigned shall rely, in

    support of this application, upon the Affidavit of Joseph P. Davis, the Certification of

    Diane E. Vuocolo in Support Of Application To Admit Joseph P. Davis, Esquire To This

    Court Pro Hac Vice for Arch Acquisition I, LLC Pursuant to District Court Rule 101.1(c)

    and a proposed form of Order submitted herewith.

                       Oral argument is not requested unless this application is contested.

    Dated: April 22, 2008
                                                     GREENBERG TRAURIG, LLP
                                                     Counsel for Arch Acquisition I, LLC


                                                     By: /s/ Diane E. Vuocolo
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